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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA )

) No. 13-CR-10200-GAO
Vv. )

)

)
DZHOKHAR TSARNAEV )

SUPPLEMENTAL MEMORANDUM IN
SUPPORT OF MOTION TO VACATE SAMs

On October 3, 2013, the defendant, through counsel, filed a motion to vacate the Special
Administrative Measures that were imposed on the defendant and counsel in late August, 2013.
[Dkt. # 110.] The motion remains pending. At a hearing on November 12, 2013, the Court
advised:

So what I’m mostly interested in is whether there is practical interference to any

substantial degree and in what respects, with the ability of the defense to prepare

because of these limitations. Not whether they’re annoying, but whether they are
inhibiting.
11/12/13 Tr. at 17. The defense responded on the record at that time and now makes this
supplemental filing to advise the court of further developments concerning the SAMs and
their impact on the defense.

Notably, in the wake of the Court’s comments at the November 12, 2013, hearing, the
government did agree to modify provisions 2d and 2e of the SAMs to permit additional defense
team members to disseminate the content of the defendants’ statements to third parties for the
purpose of preparing the defense. The government also agreed to add additional defense team

members to the pre-cleared list of individuals who may meet unaccompanied with the defendant.

These modifications were memorialized and took effect on November 27, 2013.
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Apart from these accommodations, however, the government has not modified the SAMs,
which continue to interfere with preparation of the defense in important ways. Specifically, as
detailed below, the defense is encountering obstacles related to FBI monitoring
and BOP screening of materials that defense counsel need to review with the defendant. These
obstacles thwart preparation of important parts of the defense case in mitigation and also threaten
the integrity of attorney work product.

The Supreme Court has held repeatedly that a capital defendant has a broad right to
present any mitigating evidence to the jury. See, e.g., Ayers v. Belmonte, 549 U.S. 7 (2006)
(describing the jury’s penalty phase task as weighing “the finite aggravators against the
potentially infinite mitigators”); Tennard v. Dretke, 524 U.S. 274 , 284-85 (2004). Defense
counsel thus have a corresponding obligation to investigate mitigating evidence, and to develop
and preserve that evidence for presentation to the jury. See, e.g., Porter v. McCollum, 558 U.S.
30, 40-41 (2009); Wiggins v. Smith, 539 U.S. 510, 524-25 (2003); Strickland v. Washington, 466
U.S. 668, 690-91 (1984).

The Supreme Court has also confirmed that the work product doctrine plays an essential
role in the integrity of criminal cases:

Although the work-product doctrine most frequently is asserted as a bar to

discovery in civil litigation, its role in assuring the proper functioning of the

criminal justice system is even more vital. The interests of society and the

accused in obtaining a fair and accurate resolution of the question of guilt or

innocence demand that adequate safeguards assure the thorough preparation and

presentation of each side of the case.

At its core, the work-product doctrine shelters the mental processes of the

attorney, providing a privileged area within which he can analyze and prepare his

client's case.

United States v. Nobles, 422 U.S. 225, 238 (1975). Put another way, the work product doctrine

grants attorneys “a zone of privacy within which to prepare the client’s case and plan strategy,
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without undue interference.” Jn re San Juan Dupont Plaza Hotel Fire Litigation, 859 F.2d 1007,
1014 (1st Cir. 1988).

Specifically, for example, courts “have held that defense counsel’s selection and
compilation of documents in preparation for pretrial discovery fall within the highly-protected
category of opinion work product.” United States v. Horn, 811 F. Supp. 739, 746 (D. N.H.
1992), rev'd in part on other grounds, 29 F.3d 754 (Ist Cir. 1994). In Horn, the court found that
the government had improperly invaded defense work product where the prosecution had
directed a vendor to make an additional copy for the government of materials that the defense
had selected to be copied. See id. Based on similar reasoning, in United States v. June, 2011
U.S. Dist. LEXIS 127902 (D. Mass. Oct. 19, 2011), the Court order the government to permit the

defense to review and copy original documents without the presence of an agent.

A. FBI Monitoring.
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B. BOP Screening of Materials for Review with Defendant.

Other than an apparent misunderstanding about family photographs that defense counsel
brought to the prison in September 2013, noted in the original motion papers, over the course of
several months BOP personnel had not sought to inspect or review substantively items that
defense counsel brought to the prison to review with Mr. Tsarnaev. BOP has stationed a stand-
alone desktop computer in the interview room where counsel meet with Mr. Tsarnaev to
facilitate viewing of digital materials. Over the course of several weeks, defense counsel began
to review various digital materials on CD/DVD-ROM with the defendant using this computer.

However, on January 24, 2014, BOP staff asked to review the content of a CD that
defense counsel had brought in to review with their client. In the absence of a taint team,
defense counsel declined to submit to the review and therefore were unable to review the
material with the defendant. Since that time, staff have asked counsel if they are bringing in
digital media to review with Mr. Tsarnaev. Pending resolution of this issue, counsel have not

sought to do so.
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Consistent with the teaching of Horn, supra, government knowledge of materials that the
defense has selected to review with the defendant would undermine the integrity of attorney
work product. The defense has requested that the government employ a taint team for this
purpose, but the prosecution has declined to do so.

Conclusion
For the foregoing reasons, as well as the reasons identified in prior filings and oral

argument, the Court should vacate the SAMs in their entirety. Alternatively and/or in addition,

the Court shou! (|)
a and (2) order the government to employ a “taint team” to protect attorney

work product.

Respectfully submitted,

DZHOKHAR TSARNAEV
by his attorneys

/s/_ Judy Clarke

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I hereby certify that this document filed through the ECF system will be sent
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2014.

/s/ Judy Clarke
Judy Clarke, Esq.

